Case: 1:17-md-02804-DAP Doc #: 1920-1 Filed: 07/19/19 1 of 30. PageID #: 93057




                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF OHIO
                              EASTERN DIVISION

                                             )
                                             )
 IN RE: NATIONAL PRESCRIPTION
                                             )
        OPIATE LITIGATION
                                             )
                                             )
        This document relates to:
                                             )
The County of Summit, Ohio, et al. v. Purdue
                                             )
            Pharma L.P., et al.                      MDL No. 2804
                                             )
          Case No. 18-op-45090
                                             )     Hon. Dan A. Polster
                                             )
                   and
                                             )
                                             )
The County of Cuyahoga v. Purdue Pharma
                                             )
                L.P., et al.
                                             )
         Case No. 1:18-op-45004
                                             )
                                             )




                   MEMORANDUM IN SUPPORT OF
              DISTRIBUTOR DEFENDANTS’ MOTION FOR
        SUMMARY JUDGMENT ON PROXIMATE CAUSATION GROUNDS
 Case: 1:17-md-02804-DAP Doc #: 1920-1 Filed: 07/19/19 2 of 30. PageID #: 93058




                                                   TABLE OF CONTENTS

INTRODUCTION .......................................................................................................................... 1

ARGUMENT .................................................................................................................................. 5

I.        THERE IS NO EVIDENCE THAT DISTRIBUTORS CAUSED ANY HARM
          ARISING OUT OF GOOD-FAITH PRESCRIBING BY DOCTORS. ............................. 6

          A.         Plaintiffs Have No Fact or Expert Evidence That Distributors’ Alleged
                     Failure To Conduct Due Diligence Caused Their Injuries. .................................... 7

          B.         Plaintiffs’ Injuries Are Impermissibly Remote From Distributors’ Alleged
                     Wrongdoing And Depend on Third-Party Criminal Conduct............................... 14

II.       THERE IS NO EVIDENCE THAT DISTRIBUTORS CAUSED ANY HARM
          ARISING OUT OF “ROGUE” DISPENSING AND PRESCRIBING............................ 19

III.      THERE IS NO EVIDENCE THAT DISTRIBUTORS CAUSED ANY HARM
          ARISING OUT OF ILLICIT NON-PRESCRIPTION OPIOIDS. ................................... 21

CONCLUSION ............................................................................................................................. 23




                                                                      i
 Case: 1:17-md-02804-DAP Doc #: 1920-1 Filed: 07/19/19 3 of 30. PageID #: 93059




                                               TABLE OF AUTHORITIES

                                                                                                                               Page(s)

Cases

Anderson v. Liberty Lobby, Inc.,
   477 U.S. 242 (1986) ...................................................................................................................5

Anza v. Ideal Steel Supply Corp.,
   547 U.S. 451 (2006) .................................................................................................................17

Celotex Corp. v. Catrett,
   477 U.S. 317 (1986) ...................................................................................................................5

Chaz Concrete Co., LLC v. Codell,
   No. 3:03–52–KKC, 2010 WL 1227750 (E.D. Ky. Mar. 29, 2010) .........................................18

Cincinnati v. Beretta U.S.A. Corp.,
   768 N.E.2d 1136 (Ohio 2002) .................................................................................................14

Cleveland v. Ameriquest Mort. Secs., Inc.,
   615 F.3d 496 (6th Cir. 2010) .......................................................................................14, 18, 19

Cleveland v. JP Morgan Chase Bank, N.A.,
   2013-Ohio-1035, 2013 WL 1183332 (Ohio Ct. App. 2013) ...................................................14

Click v. Georgopoulos,
    No. 08 MA 240, 2009 WL 4263521 (Ohio Ct. App. Nov. 20, 2009) ........................................5

Comcast Corp. v. Behrend,
  569 U.S. 27 (2013) ...................................................................................................................13

Copeland v. Univ. Radiologists of Cleveland, Inc.,
   No. 62332, 1993 WL 127083 (Ohio Ct. App. Apr. 22, 1993) ...................................................5

Dragich v. Taubman Co., Inc.,
   No. 96APE06-732, 1996 WL 737541 (Ohio Ct. App. Dec. 24, 1996) ......................................5

Empire Title v. Fifth Third Mortg. Co.,
  No. 1:10cv2208, 2013 WL 1337629 (N.D. Ohio Mar. 29, 2013) ...........................................19

Fidelity Interior Constr., Inc. v. Se. Carpenters Reg’l Council of the United Bhd.
   Of Carpenters and Joiners of Am.,
   675 F.3d 1250 (11th Cir. 2012) ...............................................................................................13

Heinrich v. Waiting Angels Adoption Servs., Inc.,
   668 F.3d 393 (6th Cir. 2012) ...................................................................................................18



                                                                    ii
 Case: 1:17-md-02804-DAP Doc #: 1920-1 Filed: 07/19/19 4 of 30. PageID #: 93060




Hemi Group, LLC v. City of New York, N.Y.,
  559 U.S. 1 (2010) ...................................................................................................14, 15, 17, 19

Holmes v. Sec. Inv’r Prot. Corp.,
   503 U.S. 258 (1992) ...........................................................................................................14, 18

Perry v. Am. Tobacco Co.,
   324 F.3d 845 (6th Cir. 2003) ...................................................................................................14

Vaughn v. Konecranes, Inc.,
   642 F. App’x 568 (6th Cir. 2016) ..............................................................................................5

Volter v. C. Schmidt Co.,
   598 N.E.2d 35 (Ohio App. 1991).............................................................................................19

Statutes

21 U.S.C. § 826 ................................................................................................................................9

Other Authorities

21 C.F.R. § 1301.74 .........................................................................................................................5

21 C.F.R. § 1306 ............................................................................................................................15

28 C.F.R. § 0.100 .............................................................................................................................9

Ohio Admin. Code § 4729:6-3-05(D) ..............................................................................................5




                                                                      iii
    Case: 1:17-md-02804-DAP Doc #: 1920-1 Filed: 07/19/19 5 of 30. PageID #: 93061




                                            INTRODUCTION

         Under settled law, it is not enough for Plaintiffs to prove that they were injured as a result

of the opioid crisis, or that Distributors1 had inadequate suspicious-order monitoring systems or

failed to halt shipment of particular pharmacy orders.2 Plaintiffs also must prove proximate

causation—that is, a direct connection between Distributors’ alleged wrongdoing and their injury.

While this Court declined to dismiss Plaintiffs’ claims on proximate causation grounds at the

pleadings stage, the question now before the Court is whether Plaintiffs can prove causation as to

Distributors. Eight months of discovery, the production of more than 150 million pages of

documents, and more than 400 fact and expert depositions confirm that they cannot.

         Plaintiffs claim as injuries, and seek as damages, costs they purportedly incurred in:

(1) policing drug crimes committed by County residents and visitors; (2) caring for resident

children removed from the care of opioid-addicted parents; (3) treating the addiction of County

residents; and (4) performing autopsies on individuals who overdosed in the County.3

Distributors’ alleged wrongdoing consists of failing to create and implement adequate due-

diligence systems to flag, report and halt shipments of suspicious pharmacy orders, and, as a result,

shipping an “excessive” number of prescription opioid medicines.                   An examination of the

evidentiary record developed by Plaintiffs shows that no reasonable jury could conclude that

Distributors were the proximate cause of Plaintiffs’ injuries. This is true regardless of whether the

injuries flow from (1) legitimate opioid prescribing (which Plaintiffs’ experts say accounts for the


1
 AmerisourceBergen Drug Corporation, Cardinal Health, Inc., H. D. Smith, LLC f/k/a H. D. Smith
Wholesale Drug Co., H. D. Smith Holdings, LLC, H. D. Smith Holding Company, Henry Schein, Inc.,
Henry Schein Medical Systems, Inc., McKesson Corporation and Prescription Supply Inc.
2
 While Henry Schein, Inc. does not sell to pharmacies, the logic and arguments herein apply equally to
Henry Schein, Inc.’s sales to practitioners.
3
 See Ex. 1 ¶ 20, ¶¶ 34–46. All Appendix and Exhibit references are to the declaration of Christian J. Pistilli,
submitted herewith.


                                                      1
Case: 1:17-md-02804-DAP Doc #: 1920-1 Filed: 07/19/19 6 of 30. PageID #: 93062




lion’s share of Plaintiffs’ injuries), (2) illicit dispensing or prescribing by “rogue” pharmacists or

doctors, or (3) the illicit trafficking of non-prescription opioids such as heroin and illicit fentanyl.

        Legitimate Prescribing. According to Plaintiffs’ experts, the opioid crisis has its origin in

allegedly false and misleading statements made by the defendant opioid manufacturers

(“Manufacturers”)—statements that were conveyed through multiple channels over an extended

period of time, such that virtually every source of information relied on by doctors was tainted.

Of particular significance for this motion, Plaintiffs’ experts opine that Manufacturers’ allegedly

deceptive marketing scheme (in which Distributors played no role) changed the treating

guidelines—and thus the standard of care—for prescribing opioids. The new guidelines—issued

by the Federation of State Medical Boards, among others, and expressly endorsed by the federal

Drug Enforcement Administration (“DEA”)—approved the long-term use of prescription opioids

for the treatment of chronic pain. As a result, according to Plaintiffs’ experts, general practitioners,

family doctors and internists began to write vastly more opioid prescriptions, in higher doses and

for longer periods of time, than they did under the old guidelines—causing opioid prescriptions to

skyrocket. Although Plaintiffs’ experts opine that, in retrospect, a large percentage of those

prescriptions were medically unnecessary, they opine that, at the time, the prescriptions conformed

to the prevailing standard of care.

        Plaintiffs’ account of the origins of the opioid crisis—specifically, the effect of the

allegedly deceptive marketing campaign on the prevailing standard of care—has profound

implications for what Plaintiffs must prove to establish proximate causation as to Distributors.

Plaintiffs contend that Distributors served as a “last, clear chance” to block excessive pharmacy

orders based on suspect prescriptions. But Plaintiffs’ experts opine that there was very little

suspect prescribing when viewed through the contemporaneous lens of then-prevailing treatment




                                                   2
    Case: 1:17-md-02804-DAP Doc #: 1920-1 Filed: 07/19/19 7 of 30. PageID #: 93063




guidelines.      Indeed, Plaintiffs’ experts state affirmatively that prescribing by “pill mills”

contributed to the crisis only insignificantly.

          There is no record evidence—including from any Plaintiff expert—that Distributors’

alleged failure to conduct adequate due diligence regarding pharmacy orders resulted in any orders

being shipped that would not have been shipped if there had been adequate due diligence. There

certainly is not any quantification of the orders that would not have shipped, or any linkage of such

orders to specific Distributors. Indeed, Plaintiffs’ evidence points in the other direction—showing

that no matter how much diligence Distributors conducted, it would have revealed that pharmacy

orders were overwhelmingly based on prescriptions written by “well-intentioned and

compassionate”4 doctors who were prescribing opioids in accordance with the prevailing treatment

guidelines.

          In any event, even were there proof that adequate due diligence would have stopped some

number of shipments, that still would not prove that Distributors’ conduct was a direct cause of

Plaintiffs’ injuries. The pills Distributors ship to pharmacies would sit on the shelf, causing harm

to no one, but for the intervening acts of (1) doctors who write opioid prescriptions for their

patients and (2) pharmacists who dispense opioid medicines to patients. In addition, before

prescription opioid pills can be diverted to an illegal secondary market and cause harm, at least

two intervening criminal acts are required (as Plaintiffs’ own law enforcement officials have

testified). First, the pills must be diverted to the illicit market, either by a patient who sells or gives

away his medicines (a crime), or by a third party who steals them (a crime). Second, the diverted

pills must be used by a County resident or visitor for non-medical purposes in the absence of a

valid prescription (also a crime). Thus, the independent acts of at least four different individuals,


4
    Ex. 2 at 91:22–23.


                                                    3
Case: 1:17-md-02804-DAP Doc #: 1920-1 Filed: 07/19/19 8 of 30. PageID #: 93064




at least two of which involve criminal wrongdoing, stand between Distributors’ purported

wrongdoing and Plaintiffs’ injuries. See Appendix A (documenting approximately 1,200 separate

examples of drug diversion by third parties in Summit and Cuyahoga Counties).

       Improper Dispensing and Prescribing.          Plaintiffs allege that Distributors facilitated

diversion and the creation of an illegal secondary market for opioids by selling to pharmacies they

knew or should have known were improperly dispensing opioids or filling prescriptions written by

“pill mill” doctors who were knowingly prescribing opioids in the absence of a legitimate medical

need. But there is no evidence supporting Plaintiffs’ assertion that this alleged conduct caused any

portion of Plaintiffs’ purported injuries. Plaintiffs make no effort, for example, to connect their

injuries to particular shipments that they claim a Distributor should not have made because it knew

(or should have known) that its pharmacy customer was dispensing in the absence of legitimate

prescriptions. Nor do Plaintiffs’ experts fill this evidentiary gap. Indeed, the experts do not even

attempt to do so—they mention improper dispensing and prescribing only briefly, and only then

to opine that it is not a significant source of the opioid use and abuse problem in the Plaintiff

Counties.

       Illicit Drug Use. The majority of Plaintiffs’ claimed harm results not from the use and

abuse of prescription opioids, but from the use of illegal drugs such as heroin and illicit fentanyl.

Distributors play no role in the supply chain for these non-prescription narcotics. And the

connection between Distributors’ allegedly wrongful shipments of prescription opioids and any

harm to Plaintiffs resulting from the abuse of illegal drugs by County residents and visitors is

particularly remote and attenuated.




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    Case: 1:17-md-02804-DAP Doc #: 1920-1 Filed: 07/19/19 9 of 30. PageID #: 93065




                                               ARGUMENT

         To avoid summary judgment, Plaintiffs “may not rest upon” the “allegations” of their

Complaints. Fed. R. Civ. P. 56(e). Instead, they must come forward with “specific facts showing

that there is a genuine issue for trial” on the question of proximate causation. Id.5 Plaintiffs have

no such evidence.6

         Plaintiffs contend that Distributors failed to prevent “diversion”—i.e., the “transfer of any

legally prescribed controlled substance from the person for whom it was prescribed to another

person for any illicit use,” Ex. 3 at Glossary 2—by “flooding Ohio with more opioids than could be

used for legitimate medical purposes” and failing to identify and report or halt “suspicious” opioid

orders.7 As their experts explain, diversion occurs in two main ways.8 First, diversion occurs



5
  See also Vaughn v. Konecranes, Inc., 642 F. App’x 568, 569–70 (6th Cir. 2016) (affirming grant of
summary judgment because plaintiff “did not produce any evidence . . . of proximate cause”); Click v.
Georgopoulos, No. 08 MA 240, 2009 WL 4263521, *5 (Ohio Ct. App. Nov. 20, 2009) (“Click’s failure to
produce evidence relating to proximate cause was fatal and supports the trial court’s decision to grant
summary judgment in [defendant’s] favor.”); Copeland v. Univ. Radiologists of Cleveland, Inc., No. 62332,
1993 WL 127083, *6 (Ohio Ct. App. Apr. 22, 1993) (affirming summary judgment for defendants where
“plaintiff failed to produce any evidence to establish the . . . necessary element of proximate cause”);
Dragich v. Taubman Co., Inc., No. 96APE06-732, 1996 WL 737541, *2 (Ohio Ct. App. Dec. 24, 1996)
(“[I]n order to defeat summary judgment in a negligence action, the plaintiff must . . . present evidence that
defendant’s breach of duty was the proximate cause of the plaintiff’s injury . . . . ”).
6
 On summary judgment, the moving party need not prove the absence of a genuine issue of material fact,
but may instead discharge its burden by pointing out the absence of evidence to support the nonmovant’s
case. See Celotex Corp. v. Catrett, 477 U.S. 317, 325 (1986). “The mere existence of a scintilla of
evidence” in support of the nonmoving party’s position is insufficient to defeat summary judgment.
Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 252 (1986).
7
  See, e.g., Cuyahoga TAC ¶¶ 486, 502; Summit TAC ¶¶ 502, 518. Federal regulations define “suspicious”
orders as “orders of unusual size, orders deviating substantially from a normal pattern, and orders of unusual
frequency.” 21 C.F.R. § 1301.74. Prior to 2019, no federal or Ohio statute or regulation required wholesale
distributors to “halt” or “refuse to ship” suspicious orders—a fact confirmed by Ohio legislation adding
such a requirement for the first time effective April 30, 2019. See Ohio Admin. Code § 4729:6-3-05(D).
8
   Diversion can also occur if wholesalers deliver to non-registrants. But there is no evidence that
Distributors ever diverted a single opioid or distributed to anyone other than DEA-registered and State-
licensed retailers. See, e.g., Ex. 4 at 89:1–90:5; Ex. 5 at 47:1–12; Ex. 6 at 75:2–6 (“We sold only to licensed
pharmacies who had a licensed physician’s prescriptions.”).




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Case: 1:17-md-02804-DAP Doc #: 1920-1 Filed: 07/19/19 10 of 30. PageID #: 93066




when pills dispensed pursuant to a doctor’s legitimate prescription make their way into an illicit,

secondary market.9 Second, diversion occurs when “pill mills” or “rogue” doctors prescribe

contrary to the standard of care or “illicit” pharmacies dispense to “drug dealers and customers”

in the absence of a legitimate prescription.10 Diversion does not occur if a patient becomes

addicted while under the care of a doctor who legitimately prescribes opioids pursuant to the

prevailing standard of care.11

        Part I demonstrates that there is no record evidence that Distributors were the cause of any

injuries to Plaintiffs arising out of legitimate prescribing—let alone a direct cause. Part II shows

that there likewise is a failure of proof that Distributors caused any injuries to Plaintiffs arising out

of illegitimate dispensing or prescribing. And Part III demonstrates that Distributors were not the

direct cause of any injuries to Plaintiffs stemming from the use and abuse of illegal, non-

prescription opioids such as heroin and fentanyl.

I.      THERE IS NO EVIDENCE THAT DISTRIBUTORS CAUSED ANY HARM
        ARISING OUT OF GOOD-FAITH PRESCRIBING BY DOCTORS.

        According to Plaintiffs’ own experts: (1) most doctors most of the time prescribed opioids

pursuant to the prevailing standard of care, which approved the long-term use of opioids for the

treatment of chronic pain; and (2) “pill mills” accounted for an insignificant part of the excessive




9
  See, e.g., Ex. 7 at 6, 16–17 (“[P]rescription opioid diversion is common, especially unused prescriptions
that were overprescribed to friends and family members of the non-medical users.”).
10
  See Cuyahoga TAC ¶¶ 16, 507; Summit TAC ¶¶ 17, 523; see also Ex. 7 at 16–18 (diversion occurs when
pills are taken “from medical facilities and pharmacies for sale to the black market” or when physicians
intentionally prescribe opioids for “non-medical[]” use).
11
   See, e.g., Ex. 5 at 43:25–44:22 (Director of Compliance and Enforcement for the Ohio State Board of
Pharmacy testifying that “diversion is when a pharmaceutical prescription is in any way redirected from its
legitimate medical use to an illicit use,” and that diversion does not occur when a registered dispenser
transfers prescription opioids to an outpatient who presents a legal prescription written by a licensed
prescriber).


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Case: 1:17-md-02804-DAP Doc #: 1920-1 Filed: 07/19/19 11 of 30. PageID #: 93067




prescribing that created the opioid crisis. Where such legitimate prescribing is concerned,

Distributors are entitled to summary judgment for the two separate reasons explained below.

        A.      Plaintiffs Have No Fact or Expert Evidence That Distributors’ Alleged
                Failure To Conduct Due Diligence Caused Their Injuries.

        Distributors are entitled to summary judgment because Plaintiffs have no evidence that

Distributors’ alleged failure to identify “suspicious” orders and conduct adequate due diligence

caused their injuries. During the course of discovery, Plaintiffs suggested that they would prove

causation through expert testimony and “aggregate proof.” But it is now clear that Plaintiffs’

experts do not demonstrate causation as to Distributors.12 Indeed, the proffered testimony of

Plaintiffs’ experts—that the opioid crisis resulted from an allegedly fraudulent marketing scheme

designed to promote the long-term use of opioids for the treatment of chronic pain13—establishes

that Distributors were not the cause of Plaintiffs’ injuries.

        According to Plaintiffs’ experts, “[t]he consensus among medical professionals for most of

the 20th century was that opioids should not be used for the management of chronic pain” due to

risk of addiction and lack of evidence regarding effectiveness. Ex. 8 ¶ 32; accord Ex. 9 ¶ 67.

During this time period, “doctors used opioid pain relievers sparingly,” and “only for the short

term in cases of severe injury or illness, during surgery, or at the very end of life.” Ex. 10 at 10.




12
  Plaintiffs’ experts attempt to demonstrate, using statistical analysis, the portion of the total number of
opioid prescriptions that were not “medically necessary” but were instead a result of Manufacturers’
purported marketing fraud. Their attempt to prove a causal relationship between Manufacturer marketing
and their harm fails for the reasons explained in Manufacturers’ separate submission regarding causation.
But even if Plaintiffs’ “aggregate proof” were sufficient to establish causation as to Manufacturers, they
offer no comparable aggregate proof as to Distributors.
13
  See, e.g., Ex. 8 ¶ 8 (opining that Manufacturer marketing of opioids was “the driving force of this national
catastrophe”); Ex. 10 at 75, 97 (opining that misconceptions caused by misleading marketing were the
“single most significant factor giving rise to the massive increase in the sale of opioids and the resulting
epidemic of dependence and addiction”).


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Case: 1:17-md-02804-DAP Doc #: 1920-1 Filed: 07/19/19 12 of 30. PageID #: 93068




          Beginning in the mid-1990s, according to Plaintiffs, Manufacturers sought to expand the

market for prescription opioids. To that end, Plaintiffs assert:

      •   Manufacturers developed a multi-pronged marketing scheme to promote the long-term use

          of opioids for the treatment of chronic pain. Manufacturers allegedly disseminated their

          misrepresentations about the risks and benefits of such use “by directly targeting doctors,

          by promoting key opinion leaders, by infiltrating continuing medical education courses, by

          supporting professional medical societies, and by co-opting medical watchdog

          organizations like The Joint Commission.”14

      •   Through these methods, the marketing scheme achieved the adoption and promulgation of

          treatment guidelines that recommended the use of opioids for chronic pain.                  Most

          significantly, it influenced the Federation of State Medical Boards (“FSMB”), of which the

          Ohio Board of Medicine is a member. The FSMB issued model treatment guidelines in

          1998 “urg[ing] state medical boards to punish doctors for under-treating pain,” and in 2007,

          published a book, Responsible Opioid Prescribing: A Physician’s Guide, that “promot[ed]

          the use of opioid painkillers.”15

      •   DEA in 2001 endorsed the FSMB’s guidelines—which taught “that opioids were

          ‘essential’ for treatment of chronic pain,” see Summit TAC ¶ 374—as “consistent with . .

          . DEA’s pain management position,” Ex. 11. DEA subsequently issued further guidance



14
   Ex. 10 at 4; see also Ex. 8 ¶ 59 (“Purdue and other Defendants utilized a number of approaches to
encourage physicians to prescribe opioids broadly for the treatment of chronic pain. They engaged in direct-
to-consumer marketing. They marketed directly to physicians through sales representatives. They funded
research, pain-related medical societies, and continuing medical education, lobbied medical boards and
agencies responsible for pain-related treatment guidelines, and lobbied state and local government to
remove barriers to broader use of opioids for the treatment of pain.”).
15
     Ex. 10 at 78–79.




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Case: 1:17-md-02804-DAP Doc #: 1920-1 Filed: 07/19/19 13 of 30. PageID #: 93069




           proclaiming that “nearly every prescription” for opioids issued by a U.S. physician was

           “legitimate.” Ex. 12 at 52,721.16

      •    The alleged scheme allegedly also influenced the American Academy of Pain Medicine’s

           1997 “consensus” statement that endorsed opioids to treat chronic pain, as well as its 2009

           Guidelines that recommended the use of opioids to treat chronic pain.17 The scheme

           similarly influenced the American Pain Foundation, and other professional societies.18

           With this imprimatur, according to Plaintiffs’ experts, the “cautious and conservative

approach to the use of opioids for the treatment of pain was replaced with much more liberal

prescribing practices.”19 In other words, the standard of care for the prescribing of opioids was

changed, and as a result, “[o]pioid prescribing . . . became prolific in the 1990’s and the early part

of the 21st century.”20 Multiple Plaintiff experts endorse this causal narrative:

      •    Dr. Katherine Keyes, Associate Professor of Epidemiology at Columbia University, opines

           that “the rapid increase in total opioid prescribing levels after the introduction of




16
   DEA’s actions during this time-period were consistent with its public statements. DEA is tasked with
setting an aggregate production quota for controlled substances. See 21 U.S.C. § 826; 28 C.F.R. § 0.100.
That quota represents the amount that DEA determines is needed for “legitimate, medical, scientific, [and]
research needs” during a given year. See, e.g., Ex. 13 at 35:1–5. Based on its expert judgment that there
was an increasing legitimate medical need for opioids throughout the United States, between 1993 and
2015, DEA authorized a 39-fold increase of the manufacturing quotas for prescription opioids. See Ex. 14;
see also Ex. 15; Ex. 16; Ex. 17; Ex. 18 at 31:8–10 (former head of the DEA’s Office of Diversion Control
testifying that quota levels for opioids “constantly increased” under his watch). Distributors play no role
in setting, advocating for or increasing DEA production quotas. See, e.g., Ex. 13 at 111:12–18, 112:9–12,
112:20–113:7.
17
     See Cuyahoga TAC ¶¶ 348, 354; Summit TAC ¶¶ 360, 366; see also Ex. 8 ¶ 49.
18
     See, e.g., Ex. 10 at 18; Cuyahoga TAC ¶¶ 335–78; Summit TAC ¶¶ 347–90.
19
     Ex. 8 ¶ 60.
20
     Ex. 10 at 9.




                                                    9
Case: 1:17-md-02804-DAP Doc #: 1920-1 Filed: 07/19/19 14 of 30. PageID #: 93070




           OxyContin . . . was driven by marketing and sales of opioids to physicians due to

           downplaying risks of harms associated with prescribing.”21

      •    Dr. David Kessler, the former head of the Food and Drug Administration, opines that

           Manufacturers’ “aggressive marketing of a new generation of opioids . . . understate[d]

           . . . their risks and overstate[d] . . . their benefits,” and that “opioid manufacturers

           contributed to altering the standard of care for the treatment of pain by encouraging

           healthcare providers to view pain as a ‘fifth vital sign’ that demanded aggressive treatment

           with opioids.”22

      •    Dr. Mark Schumacher, Professor and Chief of the Division of Pain Medicine at the

           University of California, San Francisco, opines that “the medical standard of care for

           treating both chronic and acute pain was changed as a result of widespread promotion and

           marketing of opioids . . . that trivialized the risk of addiction and exaggerated the benefits

           of long-term opioid use”23—marketing he attributes solely to Manufacturers.

      •    And Dr. Anna Lembke, Associate Professor and Medical Director of Addiction Medicine

           at Stanford University School of Medicine, opines that “the increase in opioid prescribing

           in this country has been primarily driven by all types of doctors across all types of

           specialties because of the major paradigm shift in the use of opioids for minor and chronic

           pain conditions as a result of misrepresentation of the evidence on the part of the

           defendants.”24



21
     Ex. 7 at 11.
22
     Ex. 9 ¶ 74, Conclusions ¶ 47.
23
     Ex. 8 ¶ 8.
24
     Ex. 2 at 219:17–220:1.




                                                    10
Case: 1:17-md-02804-DAP Doc #: 1920-1 Filed: 07/19/19 15 of 30. PageID #: 93071




          Plaintiffs’ experts, with the benefit of hindsight, now characterize much of this increased

prescribing as “unwarranted” and “medically unnecessary.”25 And they claim that as a result of

this change in doctors’ prescribing habits, an excessive number of pills got into patients’ hands,

and a portion of those pills were then diverted to an illegal, secondary market.26

          Distributors are notably absent from this narrative. There is no evidence that Distributors

made any misrepresentations regarding the risks, benefits, or addictive properties of opioid

medications, or conspired with Manufacturers to promote opioid medications fraudulently.27

Perhaps for this very reason, Plaintiffs’ marketing experts offer “no opinions on distributors.”28

          Instead, Plaintiffs suggest that Distributors caused their alleged injuries merely by failing

to prevent some portion of the “medically unnecessary” prescriptions from reaching pharmacies

and patients. And their experts purport to identify the number of orders that Distributors should

have initially flagged as “suspicious”—orders for which Distributors then should have done




25
  See, e.g., Ex. 8 ¶ 54 (opining that marketing led to “an unwarranted increase in prescription opioids”);
Ex. 19 ¶¶ 155–158 (opining that between 58.6% and 77.3% of opioid prescriptions written from 1998 to
2017 were not “medically necessary”).
26
   See, e.g., Ex. 7 at 3 (opining that “the widespread availability of prescription opioids . . . originally
dispensed for medical uses, often in greater quantities and doses than needed, le[ft] a surplus of opioids that
could be diverted for non-medical uses”).
27
     See Distributors’ Conspiracy Brief at 10–14.
28
  See Ex. 20 at 94:19–21 (“I have no opinions on distributors”). Similarly, Dr. Mark Schumacher opines
that “[t]he medical standard of care for treating both chronic and acute pain was changed because of
widespread promotion and marketing of opioids,” Ex. 8 ¶ 27, but attributes this change only to
Manufacturers, see Ex. 21 at 186:5–24. Dr. Anna Lembke offers the opinion that “[o]pioid overprescribing
… has been driven by a wholesale shift in medical practice,” Ex. 10 at 12, but limits her opinions to
Manufacturers, Ex. 2 at 274:12–20, 275:7–13. Dr. Meredith Rosenthal opines that the “unlawful”
marketing by Manufacturers caused opioid prescribing to increase, Ex. 22 ¶ 11, but her analysis does not
focus on Distributors, Ex. 23 at 750:2–6. Even Dr. Matthew Perri, who purports to offer an opinion about
Distributor “marketing,” clarified at his deposition that Distributors did not engage in marketing intended
to drive demand of opioids, but rather focused on informing pharmacies about the “price, quality, [and]
availability” of drugs in their formularies. Ex. 24 at 217:13–218:6. Dr. Perri further confirmed that he has
no opinions specific to any particular Distributor. See Ex. 24 at 204:18–205:14.




                                                      11
Case: 1:17-md-02804-DAP Doc #: 1920-1 Filed: 07/19/19 16 of 30. PageID #: 93072




additional “due diligence” before shipping any pills.29               But Plaintiffs cannot prove that

Distributors’ alleged failure to conduct adequate due diligence resulted in too many shipments

without evidence that establishes which pharmacy orders would have been viewed, at the time, as

illegitimate. And Plaintiffs have no expert who (1) opines that, had Distributors conducted

additional due diligence, it would or should have resulted in materially fewer pills reaching

Ohio pharmacies, or (2) identifies which orders (or even what portion of orders in the aggregate)

were inappropriate under then-prevailing treatment guidelines.30

          One plaintiff expert—James E. Rafalski—purports to opine on the total number of orders

that Distributors should have flagged as “suspicious,” and thus as requiring additional due

diligence.31 But neither Mr. Rafalski nor any other expert opines that a material portion of those

orders would have been identified as improper had additional due diligence been conducted.

Indeed, Mr. Rafalski readily concedes that he cannot “identify the number of opioid pills that

entered Cuyahoga and Summit Counties unlawfully.” Ex. 27 at 46; see also Ex. 28 at 208:5–17.

          The entire thrust of Plaintiffs’ expert case, moreover, is that additional diligence would not

have made a difference. While Plaintiffs now contend that a substantial portion of the pills shipped



29
  Dr. Craig J. McCann purports to identify certain transactions that Distributors should have or could have
“flagged” for further due diligence. See Ex. 19 ¶¶ 130–52, 160. But he does so using five different
methodologies that were provided to him by counsel, and does not himself opine on the correctness of those
methodologies. See Ex. 25 at 132:15–134:17, 136:1–21. Dr. David Cutler then attempts to estimate the
“portion of the harm” resulting from “marketing misconduct” that “could have been avoided” had
Distributors acted to “prevent” shipments “unrelated to medical need” using figures supposedly provided
by Dr. McCann. Ex. 1 Appendix III.J; see also Ex. 26 at 80:5–21, 84:20–22, 594:11–595:3. But the figures
used by Dr. Cutler do not appear anywhere in Dr. McCann’s report, and Dr. McCann testified at his
deposition that he was not the source of those figures. See Ex. 25 at 522:7–11.
30
  Plaintiffs likewise have no expert who opines (and no other evidence to suggest) that Distributors’ alleged
failure to report “suspicious” orders to DEA caused their injury. For the reasons explained in Part II of
McKesson, Cardinal and AmerisourceBergen’s Motion For Summary Judgment On Plaintiffs’ RICO And
OCPA Claims, Distributors’ alleged regulatory reporting failures did not proximately cause Plaintiffs’
injury.
31
     Ex. 27 at 40–41, 46 (adopting one of the five methodologies set out in the McCann report).


                                                      12
Case: 1:17-md-02804-DAP Doc #: 1920-1 Filed: 07/19/19 17 of 30. PageID #: 93073




by Distributors were used to fill “medically unnecessary” prescriptions, their experts acknowledge

that those prescriptions were written by doctors, in good faith, pursuant to the then-prevailing

standard of care. In other words, Plaintiffs’ own experts demonstrate that the vast majority of

pharmacy orders were not “suspicious” when viewed through a contemporaneous lens. See supra

2–3. That is why DEA authorized a 39-fold increase in the opioid production quota based on its

determination that there was an increasing legitimate medical need over a 22-year period. See

supra n.16.

       In sum, where legitimate prescribing is concerned, no matter how much diligence

Distributors might have done, at the end of the day, the pills would have been shipped because

Distributors’ contemporaneous investigation would have shown that the orders were being used to

fill lawful prescriptions. It is not Distributors’ job to police prescribing or prevent patients from

obtaining medicines prescribed in good faith by their doctors, even if some of those prescriptions

turned out to have been written because of an alleged fraudulent marketing campaign in which

Distributors played no part. To be clear, “lawful conduct”—such as the distribution of controlled

substances to licensed pharmacies in order to fill legitimate prescriptions written by doctors in

accordance with the standard of care—“cannot provide the basis for a damages award.” Fidelity

Interior Constr., Inc. v. Se. Carpenters Reg’l Council of the United Bhd. Of Carpenters and

Joiners of Am., 675 F.3d 1250, 1264 (11th Cir. 2012); see Comcast Corp. v. Behrend, 569 U.S.

27, 35, 38 (2013) (similar).

       Finally, even assuming that Distributors could and should have prevented shipments of

some “medically unnecessary” opioids, that would not establish proximate causation. If a

prescription is written for a medicine in good faith by a doctor as a result of an allegedly fraudulent

marketing campaign, and the medicine is diverted to illicit use by a third party sometime after




                                                  13
Case: 1:17-md-02804-DAP Doc #: 1920-1 Filed: 07/19/19 18 of 30. PageID #: 93074




being appropriately dispensed by a pharmacy, and Plaintiffs incur expenses as a result of that illicit

use, the fact that Distributors filled the pharmacy’s wholesale order for the medicine does not make

them a direct cause of Plaintiffs’ injuries. See infra Part I.B.

         B.     Plaintiffs’ Injuries Are Impermissibly Remote From Distributors’ Alleged
                Wrongdoing And Depend on Third-Party Criminal Conduct.

         Plaintiffs have no evidence that Distributors’ alleged conduct—i.e., shipping opioid

medicines to State-licensed and DEA-registered pharmacies—proximately caused their alleged

harm. They cannot point to any evidence drawing a line from an allegedly improper shipment to

any expenses incurred by Plaintiffs as a result of the opioids crisis—let alone the direct line

necessary to establish proximate causation. This wholesale evidentiary failing is dispositive on

summary judgment. See supra n.5, n.6.

         To survive summary judgment on proximate causation, Plaintiffs must establish a “direct

relation between the injury asserted and the injurious conduct alleged.” Holmes v. Sec. Inv’r Prot.

Corp., 503 U.S. 258, 268 (1992).32 In assessing whether there is a “direct relation” between

claimed injury and conduct, “[t]he general tendency of the law . . . is not to go beyond the first

step.”   Id. at 271–72.     “A link that is ‘too remote,’ ‘purely contingent,’ or ‘indirec[t]’ is

insufficient.” Hemi Group, LLC v. City of New York, N.Y., 559 U.S. 1, 9 (2010) (plurality opinion)

(quoting Holmes, 503 U.S. at 271, 274); see also Cleveland v. JP Morgan Chase Bank, N.A., 2013-

Ohio-1035, ¶ 11, 2013 WL 1183332, at *4 (Ohio Ct. App. 2013) (“because the consequences of


32
  This requirement applies, under controlling precedent from the Sixth Circuit and the Ohio Supreme Court,
to each of Plaintiffs’ claims. See, e.g., Cleveland v. Ameriquest Mort. Secs., Inc., 615 F.3d 496, 503 (6th
Cir. 2010) (noting that “the Ohio Supreme Court has adopted the Holmes Court’s proximate cause
analysis”); Cincinnati v. Beretta U.S.A. Corp., 768 N.E.2d 1136, 1148 (Ohio 2002) (applying the Holmes
proximate cause test to Ohio state-law tort claims); see also Perry v. Am. Tobacco Co., 324 F.3d 845, 850
(6th Cir. 2003) (noting that “the RICO statute incorporates general common law principles of proximate
causation,” and applying the Holmes proximate cause analysis to Ohio state-law tort claims); JP Morgan
Chase, 2013 WL 1183332 at *5 (“The same proximate cause requirements … apply to both [RICO and
OCPA] causes of action.”).


                                                    14
Case: 1:17-md-02804-DAP Doc #: 1920-1 Filed: 07/19/19 19 of 30. PageID #: 93075




an act go endlessly forward in time and its causes stretch back to the dawn of human history,”

courts have recognized that proof of proximate causation is “essential”). Thus, it is well-settled

that summary judgment is required where, as here, the evidence shows that (1) “[m]ultiple steps

. . . separate the alleged [conduct] from the asserted injury,” and (2) the plaintiff’s “[t]heory of

liability rests on the independent actions of third and even fourth parties.” Hemi, 559 U.S. at 15.

        Within the legitimate supply chain for prescription opioids, the record demonstrates that at

least two independent actions are required before the opioids delivered by Distributors could ever

reach County residents:

        •    Prescribing: Distributors cannot and do not diagnose, treat or prescribe for patients.
             See Ex. 29 at 68:23–69:2 (agreeing that a Distributor would not know anything about
             a specific doctor-patient relationship); Ex. 30 at 396:9–13 (agreeing that a Distributor
             would not have the medical records of patients who are being prescribed medications).
             That is the job of a licensed, registered physician who is empowered to exercise medical
             judgment. See 21 C.F.R. § 1306.04(a). Distributors have no ability to review or
             second-guess the validity of any prescription written by a physician.33

        •    Dispensing: Distributors cannot and do not dispense opioid products to patients. See,
             e.g., Ex. 32 at 267:11–15. That is the job of a licensed, registered pharmacist, who
             must operate in compliance with their own regulatory duties not to fill illegitimate
             prescriptions. See 21 C.F.R. §§ 1306.04(a), 1306.11; see also Ex. 18 at 196:1–16.




33
  Ex. 5 at 267:5–18 (agreeing that “it is only those . . . two entities, the prescriber who is treating the patient
and the pharmacist who is asked to fill the prescription, who can make and are legally obligated to make a
determination that the prescription is for a legitimate medical purpose”); Ex. 31 at 158:2–11 (a doctor-
patient relationship is required to “determine risks” of a prescribing decision); see also Ex. 12 at 52,723
(“[E]ach patient’s situation is unique” and prescribing should be “based on the physician’s sound medical
judgment”). Distributors do not know the identity of patients receiving drugs from pharmacists. See Ex.
33 at 247:24–248:2 (“[W]e could not go into a pharmacy and look at prescriptions, that’s a HIPAA
violation.”); Ex. 35 at 268:13–15; Ex. 34 at 360:5–15; Ex. 30 at 393:22–394:3 (“Q. How do you define
legitimate medical prescription for a legitimate medical purpose? A. Again, this is why we need a medical
expert when we do these cases”).




                                                        15
Case: 1:17-md-02804-DAP Doc #: 1920-1 Filed: 07/19/19 20 of 30. PageID #: 93076




Moreover, for the diversion of opioids to cause Plaintiffs any harm, several additional steps—

including at least two illegal acts—must occur.34

          First, the pills must be diverted to the illicit market—typically, according to Plaintiffs’

experts, by the patient to whom the medicines were legitimately prescribed.35 That act of diversion

is inherently unlawful.36 Indeed, the record is replete with evidence that third parties in Summit

County and Cuyahoga County engaged in illegal behavior to divert opioids. See, e.g., Ex. 30 at

396:9–13 (DEA diversion investigator testifying that he had worked on “close to 50” diversion

investigations since 2012); see also Appendix A (compilation of record evidence of drug diversion

by approximately 1,200 non-distributors in Summit and Cuyahoga Counties). For example, Louis

Eppinger of Cleveland led a conspiracy that forged prescriptions for OxyContin and Percocet pills,

hired people to have them filled at pharmacies throughout the region, then sold the pills on the

street. See Ex. 39. Similarly, Heather R. Mitchell directed a conspiracy in Cuyahoga County that

obtained prescription narcotics, including Vicodin and Oxycodone, and sold or traded those drugs

for heroin.37


34
  To the extent that Plaintiffs claim harms resulting from the addiction or overdose of patients who were
lawfully prescribed opioids by their doctors, that harm does not involve diversion and cannot be a source
of liability as to Distributors.
35
   According to Plaintiffs’ experts, the most “common routes for opioid prescriptions on[to] the illicit
marketplace are drug dealers as well as family and friends.” Ex. 7 at 17. Those experts opine that
approximately two-thirds of all “non-medical opioid users … obtained opioids from a friend or relative,”
either for free or for a fee. Id. In other words, according to Plaintiffs’ experts, the principal pathway for
diversion is the transfer of “unused prescriptions that were overprescribed to friends and family members”
of the illicit end-user. Id.
36
   See, e.g., Ex. 36 at 187:12–188:10 (Chief of the Cleveland Division of Police stating that it is a crime
when someone steals prescription opioids from a pharmacy or from their grandmother’s medicine cabinet);
Ex. 37 at 58:5–13 (Police Lieutenant with the Cleveland Division of Police stating that people can illegally
obtain prescriptions by, inter alia, “steal[ing] grandma’s prescriptions … [or] buy[ing] illegal
prescriptions”); see also Ex. 38 at 54:1–55:25 (Narcotics Detective with the Cleveland Division of Police
agreeing that distributors are not to blame for diversion that occurs when someone steals unused pills from
a family member and them “sells them or uses them themselves”).
37
     See Ex. 41.


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Case: 1:17-md-02804-DAP Doc #: 1920-1 Filed: 07/19/19 21 of 30. PageID #: 93077




        Second, the diverted prescription opioid pills must be consumed by a County resident or

visitor for non-medical use. This, too, is a necessarily criminal act. See, e.g., Ex. 40 at 86:23–

87:6 (Chief Counsel of the Summit County Prosecutor’s Office stating that the individual who

uses or ingests a drug that ultimately leads to an overdose death would have committed a crime

“[h]ad they lived”). Only after these multiple intervening steps, including at least two crimes, can

Plaintiffs possibly incur harm—and only then if they happen to incur expense as a result of the

end-user’s addiction or overdose.

        The record evidence thus demonstrates that, insofar as good-faith prescribing is concerned,

there are at least five steps—including multiple acts of criminal wrongdoing—standing between

Plaintiffs’ claimed injury and Distributors’ asserted wrongdoing:

        Step One: Distributors ship prescription opioids to licensed pharmacies.

        Step Two: Prescription opioids shipped by Distributors are (a) dispensed to a patient by a
        pharmacist (b) upon presentation of a bona fide prescription written in good-faith by a
        doctor based upon the then-prevailing standard of care.

        Step Three: Some portion of the pills are then illegally diverted—i.e., they are sold or
        given away by the patient or are stolen from the patient’s medicine cabinet.

        Step Four: A County resident illicitly uses the diverted opioids.

        Step Five: Plaintiffs suffer injuries (increased costs) as a result, for example, of addressing
        that individual’s illegal activity, dependency addiction or overdose.

In these circumstances, where the evidence reveals an extremely attenuated, multi-step and remote

causal chain, Plaintiffs’ causation case fails as a matter of law. See Hemi, 559 U.S. at 15 (dismissal

warranted where “[m]ultiple steps . . . separate the alleged [conduct] from the asserted injury”).38


38
   See also Hemi, 559 U.S. at 9–11 (rejecting causation theory premised on defendant’s failure to submit
customer information to the State (Step One), which the State could not pass on to the City (Step Two),
which prevented the City from identifying citizens who had failed to pay taxes (Step Three), causing injury
in the form of lost tax revenue (Step Four)); Anza v. Ideal Steel Supply Corp., 547 U.S. 451, 457–58 (2006)
(rejecting causation theory premised on defendants’ fraud against the state tax authority (Step One), which



                                                    17
Case: 1:17-md-02804-DAP Doc #: 1920-1 Filed: 07/19/19 22 of 30. PageID #: 93078




        The presence of multiple, independent actors and events—including multiple criminal

acts—further highlights the infirmity of Plaintiffs’ theory of causation. See, e.g., City of Cleveland

v. Ameriquest Mortg. Secs., Inc., 615 F.3d 496 (6th Cir. 2010). In Ameriquest, the City of

Cleveland alleged that the defendants’ financing of subprime loans led to a foreclosure crisis,

which caused homes in the City to become “eyesores, fire hazards, and easy prey for looters and

drug dealers,” thereby leading to “increased expenditures for fire and police protection and

maintenance and demolition costs” on the part of the City. Id. at 499. Faced with those allegations,

the Sixth Circuit held that the City’s allegations failed the Holmes direct injury test because

numerous “independent actors” stood between the defendants’ misconduct and the City’s injury.

Id. at 505.

        Like the defendants in Ameriquest—who “did not directly make subprime loans to the

homeowners of Cleveland” but rather securitized the loans for sale to investors, id.—Distributors

did not directly make opioid medications available to County residents. Without both a doctor

who prescribed the medicine and a pharmacist who dispensed it, the medications supplied to

pharmacies by Distributors would have remained on the shelf, reaching no one. Moreover, like

the City in Ameriquest—whose harm was directly caused not by the defendants but by the




allowed defendants to undercut plaintiff’s prices (Step Two), causing injury in the form of lost profits (Step
Three)); Holmes, 503 U.S. at 271–74 (rejecting causation theory premised on defendants’ stock
manipulation (Step One), which caused purchasing third-party broker dealers to become insolvent (Step
Two), causing injury to customers of those broker dealers (Step Three)); Heinrich v. Waiting Angels
Adoption Servs., Inc., 668 F.3d 393, 405–06 (6th Cir. 2012) (rejecting causation theory premised on
defendant adoption agency’s fraudulent conduct in inducing plaintiffs to do business with them (Step One),
which allowed the agency to make subsequent false representations (Step Two), which caused plaintiffs to
pay various fees (Step Three)); Chaz Concrete Co., LLC v. Codell, No. 3:03–52–KKC, 2010 WL 1227750,
at *11–13 (E.D. Ky. Mar. 29, 2010) (rejecting causation theory premised on defendants’ fraudulent
certification of a third-party as a “disadvantaged business” (Step One), which caused contracts to be
awarded to that third-party (Step Two), which caused injury to plaintiff in the form of lost profits (Step
Three)).




                                                     18
Case: 1:17-md-02804-DAP Doc #: 1920-1 Filed: 07/19/19 23 of 30. PageID #: 93079




subsequent actions of homeowners, lenders and the “[d]rug dealers and looters [who] made

independent decisions to engage in . . . criminal conduct,” id.—Plaintiffs’ alleged harm was more

directly caused by (i) the patients or others who made the independent decision to divert lawfully

obtained controlled substances to illegal use, and (ii) the County residents or visitors who used the

medicines unlawfully. Thus, even more so than in Ameriquest, “the connection between the

[Counties’] alleged harm and [Distributors’] alleged misconduct is too indirect to warrant

recovery.”39

II.     THERE IS NO EVIDENCE THAT DISTRIBUTORS CAUSED ANY HARM
        ARISING OUT OF “ROGUE” DISPENSING AND PRESCRIBING.

        According to Plaintiffs’ experts, illicit dispensing and prescribing by pharmacies and

doctors is not a significant contributor to the opioid epidemic. See, e.g., Ex. 7 at 18 (“‘Pill Mills’

do not explain in any significant way the expansion of opioid prescribing and opioid-related harm

in the US.”). In any event, where rogue pharmacies and “pill mill” doctors are concerned, there is

likewise no record evidence tying Distributors’ purportedly wrongful shipments to Plaintiffs’

injuries.

        First, Plaintiffs have no evidence that they were harmed as a result of any illicit prescribing

or dispensing. Through discovery in this case, Plaintiffs have been given access to DEA’s ARCOS

data, see ECF No. 233, and each Distributor’s shipment data for the Plaintiff Counties, see ECF

No. 693 at 11. Plaintiffs bear the burden of proving a direct connection between their claimed

injuries and specific conduct on the part of Distributors—that is, specific, allegedly improper


39
  See also Hemi, 559 U.S. at 11 (proximate causation absent where alleged injury was contingent on non-
parties’ decisions “not to pay taxes they were legally obligated to pay”); Empire Title v. Fifth Third Mortg.
Co., No. 1:10cv2208, 2013 WL 1337629, at *11 (N.D. Ohio Mar. 29, 2013) (“Courts have recognized that
when independent actors are present in the causal chain, the injury is too speculative to support recovery.”);
Volter v. C. Schmidt Co., 598 N.E.2d 35, 37 (Ohio App. 1991) (“Traditionally, an intentional tort committed
by a third-party constitutes an intervening act which supersedes the negligence of the party creating the risk
of harm, and relieves that party from liability.”).


                                                     19
Case: 1:17-md-02804-DAP Doc #: 1920-1 Filed: 07/19/19 24 of 30. PageID #: 93080




shipments identified in the data. But Plaintiffs have made no effort to demonstrate a causal

relationship between the opioid pills shipped by Distributors and their alleged injuries. Plaintiffs

do not, for instance, identify any “pill mill” doctors supplied by Distributors in the Counties and

demonstrate that they were harmed as a result of those shipments. Nor do Plaintiffs show that they

incurred expense as a result of shipments to particular pharmacies in the Counties that Distributors

knew (or should have known) were dispensing in the absence of legitimate prescriptions.40

        Indeed, Plaintiffs’ experts do not even purport to demonstrate that Plaintiffs were injured

as a result of Distributors’ shipments to pharmacies that filled prescriptions written by “pill mill”

doctors or otherwise dispensed improperly. Plaintiffs do not have any expert who attempts to

show—in the aggregate or otherwise—that Distributors should have halted particular orders

because they knew or should have known that they were the result of improper dispensing by

pharmacies or prescribing by doctors. Nor do they have an expert who attempts to tie any rogue

prescribing or dispensing to any portion of their claimed harm. Instead, their experts discuss the

role of such rogue actors only briefly, and in order to emphasize the small role that they played in

causing the opioid crisis. See, e.g., Ex. 10 at 12 (opining that “opioid overprescribing is not the

result of a small subset of so-called ‘pill mill’ doctors . . . but rather has been driven by a wholesale

shift in medical practice” caused by Manufacturer marketing).


40
  In response to Discovery Ruling No. 12, Plaintiffs identified a limited number of allegedly “suspicious”
orders that Distributors shipped into Summit and Cuyahoga Counties. But there is no evidence that any of
the opioids shipped with those orders were ever diverted or ever caused Plaintiffs’ any harm whatsoever.
Moreover, Plaintiffs do not even claim that those orders caused them harm; they merely assert that the
orders are “suspicious.” Their identification of the order as “suspicious,” standing alone, is not enough to
create a triable question of fact. For example, Plaintiffs identify a February 2012 shipment of hydrocodone
from McKesson to a pharmacy in Cuyahoga Falls, Ohio (DEA registrant number BM0509262) as
“suspicious.” But Plaintiffs do not offer any evidence that the pills shipped by McKesson were ever
diverted or abused. Nor could they: transactional data produced by McKesson in discovery shows that in
March 2012, that same pharmacy returned the hydrocodone to McKesson. Even if the February 2012 order
was “suspicious,” pills that sat on the pharmacy’s shelf and were later returned to McKesson’s vault did
not cause Plaintiffs’ harm.


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Case: 1:17-md-02804-DAP Doc #: 1920-1 Filed: 07/19/19 25 of 30. PageID #: 93081




        Second, the causal chain connecting Distributors’ conduct to Plaintiffs’ injury is again

remote and broken by the intervening conduct of several criminal actors. The relevant causal chain

is as follows:

        Step One: Distributors ship prescription opioids to licensed pharmacies.

        Step Two: Prescription opioids shipped by Distributors reach the secondary market as a
        result of (a) illegal dispensing by a “rogue” pharmacy or (b) illegal prescribing by a “rogue”
        doctor.

        Step Three: A County resident illicitly uses the diverted opioids.

        Step Four: Plaintiffs suffer injuries (increased costs) as a result of, for example, addressing
        that individual’s illegal activity, dependency, addiction or overdose.

That highly attenuated chain of causation is insufficient as a matter of law. See supra 14–15.

III.    THERE IS NO EVIDENCE THAT DISTRIBUTORS CAUSED ANY HARM
        ARISING OUT OF ILLICIT NON-PRESCRIPTION OPIOIDS.

        Plaintiffs’ purported damages stem in substantial part from the abuse of non-prescription

opioids such as heroin and illicit fentanyl. See, e.g., Ex. 1 ¶¶ 54–58, 115; Ex. 42 ¶¶ 45, 49.41

Insofar as Plaintiffs claim as injury costs they incurred in responding to use of illicit, non-


41
   Especially in recent years, the use of illegal street drugs has been the major driver of Plaintiffs’ opioid-
related injury. See, e.g., Ex. 43 at 93:16–94:2 (Executive Director of the Ohio High Intensity Drug
Trafficking Area (HIDTA) testifying that, since 2012, the “most significant drug problem in Ohio HIDTA”
has been heroin and fentanyl); Ex. 37 at 304:14–24 (co-commander of the Northern Ohio Law Enforcement
Task Force testifying that the greatest drug threats to Cleveland region are fentanyl and heroin); Ex. 44 at
112:20–113:4 (Captain of the Summit County Narcotics Division testifying that the greatest drug threat to
Summit County is heroin, fentanyl, cocaine and crystal methamphetamine); Ex. 45 at 178:21–24, 205:22–
206:5 (Forensic Toxicologist at the Cuyahoga County Medical Examiner’s Office testifying that as of June
2013, heroin was the largest driver of overdose deaths in Cuyahoga County and that the “vast majority” of
overdose deaths since 2015 have been caused by heroin, cocaine, carfentanil and fentanyl); see also Ex. 10
at 84 (“We are now in the second and third waves of this [opioid] epidemic, with a spike in deaths from
illicit opioids, particularly heroin (second wave) and illicit fentanyl (third wave).”); Ex. 7 at 20, 23–24, 26
(opining that “[t]here have been rapid increases in opioid overdose death due to heroin and synthetic
opioids, beginning in approximately 2015,” that “[i]n recent years, heroin and fentanyl deaths have
increased more than any other drug cause” and that “[t]he number of individuals who use heroin has been
increasing in the United States”); Ex. 8 ¶ 107 (opining that the steady increase in mortality rates for natural
or semi-synthetic opioids such as hydrocodone and oxycodone observed between 1999 to 2010 “has been
replaced by climbing rates of heroin and especially synthetics such as fentanyl”).




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Case: 1:17-md-02804-DAP Doc #: 1920-1 Filed: 07/19/19 26 of 30. PageID #: 93082




prescription drugs by County residents and visitors, it is especially clear that Distributors are

entitled to summary judgment.

        Distributors’ alleged wrongdoing consists of delivering an “excessive” number of FDA-

approved opioid medications to State-licensed pharmacies. They do not supply illicit drugs, either

directly or indirectly, to individuals. Rather, the evidence reflects that these drugs are trafficked

into the Counties by illicit drug rings from China and Mexico.42 If a Summit or Cuyahoga resident

or visitor overdoses on heroin (or another illegal street drug), and that overdose causes Plaintiffs

to incur expense, Distributors are plainly not the cause—let alone a direct cause—of that expense.

The attenuated chain of causation in this circumstance is as follows:

        Step One: A County resident or visitor becomes dependent on prescription opioids.

        Step Two: As part of her transition from prescription opioids to heroin, that individual
        (illegally) purchases heroin from a dealer who (illegally) acquired it after someone else
        (illegally) imported it into the United States.

        Step Three: The County resident or visitor (illegally) ingests the heroin.

        Step Four: Plaintiffs suffer injuries (increased costs) as a result of, for example, addressing
        that individual’s illegal activity, dependency, addiction or overdose.

That causal chain is far too attenuated as a matter of law. See supra 14–15.

        As an initial matter, for the reasons explained above, there is no evidence that Distributors

proximately caused any County resident or visitor to become dependent on prescription opioids in

the first place. See supra Parts I and II. Absent proof of that, Distributors are entirely missing




42
   See, e.g., Ex. 46 at 205:6–206:5 (prosecutor in the Cuyahoga County Prosecutor’s Office testifying that
most of the illicit fentanyl and carfentanil that enters the United States comes from China); Ex. 47 at 84:3–
25 (Sergeant in the Narcotics Unit of the Cleveland Police Department testifying that most of the heroin in
Cleveland comes from Mexico and the fentanyl from China); Ex. 43 at 40:5–11, 118:19–120:15 (Executive
Director of the Ohio HIDTA testifying that carfentanil in the Ohio HIDTA comes from China and Mexico,
heroin comes through the Southwest border, and fentanyl comes from China and Mexico); see also Ex. 37
at 131:18–132:4; Ex. 44 at 108:15–24; Ex. 48 at 324:1–8.


                                                     22
Case: 1:17-md-02804-DAP Doc #: 1920-1 Filed: 07/19/19 27 of 30. PageID #: 93083




from the chain of causation leading from prescription drug use, to illicit drug use, and on to

Plaintiffs’ injuries.

        Even setting that threshold issue aside, the chain of causation separating Distributors’

shipments of FDA-approved medicines from the illicit use of illegal street drugs (and attendant

government expenditures) is too remote and broken by intervening criminal conduct. The actors

and events standing between an individual’s use of lawfully prescribed medicines and Plaintiffs’

claimed injury include at least (1) the sale of an illegal drug by a dealer and (2) the unlawful

purchase and use of the drug by the individual. See, e.g., Ex. 36 at 330:1–21 (Chief of the

Cleveland Division of Police admitting that “if somebody has overdosed on heroin, at least two

crimes have been committed”).

        In short, in light of the especially attenuated chain of causation connecting Distributors’

allegedly “excessive” shipments of prescription opioids and costs incurred by Plaintiffs in

combatting or otherwise dealing with the consequences of illegal drug use, it is particularly clear

that Distributors are entitled, at the least, to summary judgment insofar as Plaintiffs’ claimed

injuries arise from the use of illicit, non-prescription opioids.

                                          CONCLUSION

        Because there is no evidentiary basis on which a reasonable jury could conclude that

Distributors proximately caused Plaintiffs’ injuries, Distributors are entitled to summary judgment.




                                                  23
Case: 1:17-md-02804-DAP Doc #: 1920-1 Filed: 07/19/19 28 of 30. PageID #: 93084




  Dated:    June 25, 2019                 Respectfully Submitted,



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                                     24
Case: 1:17-md-02804-DAP Doc #: 1920-1 Filed: 07/19/19 29 of 30. PageID #: 93085




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                                              25
Case: 1:17-md-02804-DAP Doc #: 1920-1 Filed: 07/19/19 30 of 30. PageID #: 93086




                                 CERTIFICATE OF SERVICE

       I, Geoffrey E. Hobart, hereby certify that the foregoing document was served via

the Court’s ECF system to all counsel of record.

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                                               26
